                       Case 18-15891-LMI         Doc 49     Filed 07/19/18     Page 1 of 2




      ORDERED in the Southern District of Florida on July 19, 2018.




                                                       Laurel M. Isicoff
                                                       Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

       In re:                                              Case No. 18-15891-BKC-LMI

       MAURICE SYMONETTE,                                  Chapter 7

                  Debtor.
       ________________________________/

                ORDER GRANTING EMERGENCY MOTION TO CONTINUE HEARING

                This matter came before the Court upon the Debtor’s Emergency Motion to Continue

      Hearing (ECF #46) (the Motion”). The Debtor requests that this Court continue the hearing on

      HSBC BANK USA, N.A.’s Motion for Annulment of the Automatic Stay Nunc Pro Tunc to May

      15, 2018 scheduled for July 25, 2018.

                The Court has reviewed the Motion, the record, and all relevant matters. It is

                ORDERED AS FOLLOWS:

                1.     The Motion is GRANTED.

                2.     The hearing scheduled for July 25, 2018 at 10:30 a.m. is rescheduled to August

      08, 2018 at 2:00 p.m. NO FURTHER CONTINUANCES WILL BE GRANTED.
                 Case 18-15891-LMI              Doc 49       Filed 07/19/18         Page 2 of 2



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Copies furnished to:
Maurice Symonette, pro se Debtor

        The Clerk of Court shall serve a copy of this order upon all parties in interest.
